     Case 2:10-cv-04049-JCZ-KWR Document 387 Filed 07/18/18 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

CASSANDRA BERRY, ET AL.                                                CIVIL ACTION


VERSUS                                                                 NO. 10-4049


JOHN WHITE, ET AL.                                                     SECTION "A"(4)



                                          ORDER

       The Consent Judgment entered in this case is at a critical juncture given that fall

2018 is the last initial monitoring cycle absent a legitimate basis to extend it consistent

with the terms of the Consent Judgment. The Court is aware that the parties have

continued to express concerns and informal objections to the monitors regarding their

interpretations of the Consent Judgment in terms of “substantial compliance”

determinations, the adequacy of corrective actions for sufficiently remedying

noncompliance, and the duration for the achievement and maintenance of substantial

compliance. All of these areas impact the criteria for termination of the Consent

Judgment under its own terms.

       The Court will allow the parties to be heard on these issues at the next status

conference. But the parties should note that the Court, in consultation with the IM team,

has endorsed the IM team’s interpretations in all of these areas. The Consent Judgment

itself defines the term “substantial compliance” and it does so not in accordance with an

individual LEA’s compliance with the IDEA but rather with the Defendants’ compliance

with the Consent Judgment itself. The Court declines the request to allow briefing based

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     Case 2:10-cv-04049-JCZ-KWR Document 387 Filed 07/18/18 Page 2 of 3



on the Supreme Court’s decision in Endrew F. v. Douglas County School District, 137 S.

Ct. 988 (2017), because it does not pertain to the systemic claims that were brought

against the State in this case. At this time, the Court is persuaded that the IM team has

properly tethered its interpretations regarding substantial compliance to the terms of the

Consent Judgment itself with due regard to the obligations imposed on the State under

the IDEA. The individual LEAs are not parties to either this litigation or the Consent

Judgment.

       Regarding the exit criteria under § VIII(2) of the Consent Judgment, the Court is

inclined to believe that the most reasonable interpretation of that section is that

Defendants must first attain substantial compliance and then maintain it for two

consecutive years.

       At the request of the IM team as detailed in their July 8, 2018 email to the Court,

the Court clarifies the following schedule of events pertaining to the two outstanding

follow-up monitoring reports. At this time, the IM team anticipates circulating drafts of

the two outstanding follow-up monitoring reports by July 25, 2018. The parties will follow

the regular two-week comment process as outlined in the Consent Judgment. After the

comment period, the IM team will file final versions of the two 2018 follow-up monitoring

reports (citing all objections) by August 8, 2018. Once the outstanding reports are filed,

the Court will schedule a status conference with the parties and the IM team jointly to

address specific objections and concerns.1 Prior to the conference the Court will invite



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 The Court will endeavor to hold the status conference in the month of August but the setting
will depend on the availability of counsel for the parties, the IM team, and the Court.

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     Case 2:10-cv-04049-JCZ-KWR Document 387 Filed 07/18/18 Page 3 of 3



the parties to submit memoranda explaining the specific topics they wish to discuss at

the status conference.

      July 17, 2018


                                            JAY C. ZAINEY
                                    UNITED STATES DISTRICT JUDGE




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